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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                    MONROE DIVISION


 DANNY NEAL                                           CASE NO. 3:20-CV-00641

 VERSUS                                               JUDGE TERRY A. DOUGHTY

 TRAVELERS INDEMNITY CO                               MAG. JUDGE KAREN L. HAYES


                                          JUDGMENT

        The Report and Recommendation of the Magistrate Judge [Doc. No. 19] having been

 considered, no objections having been filed, and finding that same is supported by the law and

 the record in this matter,

        IT IS ORDERED, ADJUDGED, AND DECREED that Travelers’ motion to dismiss

 [Doc. No. 10] is DENIED.

        THUS DONE AND SIGNED this 31st day of July, 2020, in Monroe, Louisiana.


                                                  ______________________________________
                                                  TERRY A. DOUGHTY
                                                  UNITED STATES DISTRICT JUDGE
